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 1
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 5
     Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
 6

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 8
                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10

11    ROTHSCHILD BROADCAST
      DISTRIBUTION SYSTEMS, LLC,                     CASE NO.: 4:21-cv-05975-JSW
12

13
                           Plaintiff,
                                                     JURY TRIAL DEMANDED
14    v.
15    CYBERLINK.COM CORP.,                           STIPULATION TO STAY
                                                     ALL DEADLINES
16
                           Defendant.
17                                                   Honorable Jeffrey S. White

18

19

20
     TO THE HON. JEFFREY S. WHITE, UNITED STATES DISTRICT JUDGE,
21
     NORTHERN DISTRICT OF CALIFORNIA:
22
              Pursuant to Civil Local Rule 6-2, because the parties hereto have reached an
23
     agreement in principle that will settle and dispense of this matter and are in the process
24
     of memorializing the terms of a written settlement agreement, they stipulate hereby to
25
     requesting a thirty (30) day stay of the proceeding, including all deadlines, up or until
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     November 29, 2021. There have been two previous time modifications in the case (see
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                                                  1
                                    STIPULATION TO STAY DEADLINES
        Case 4:21-cv-05975-JSW Document 18 Filed 10/27/21 Page 2 of 2




 1   ECF Nos. 11, 17), but because of the settlement the requested time modification should
 2   have no effect on the schedule for the case.
 3

 4   Dated: October 27, 2021                 Respectfully submitted,
 5
                                             /s/ Stephen M. Lobbin
 6                                           Attorney(s) for Plaintiff
 7

 8                                           ORDER
 9

10         IT IS SO ORDERED.
11

12   Dated: _______________, 2021            ______________________________
13
                                             United States District Judge
14

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16

17                              CERTIFICATE OF SERVICE
18         I hereby certify that on October 27, 2021, I electronically transmitted the
19   foregoing document using the CM/ECF system for filing, which will transmit the
20   document electronically to all registered participants as identified on the Notice of
21   Electronic Filing, and paper copies have been served on those indicated as non-
22   registered participants.
23

24                                           /s/ Stephen M. Lobbin
                                             Stephen M. Lobbin
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                                                2
                                  STIPULATION TO STAY DEADLINES
